
OPINION OF THE COURT
NADLER, J.
This is a driving Under the Influence case. Discovery was provided. At time of trial, the defense revealed its inability to depose a witness. The continuance granted was charged to the state and the case was thereafter dismissed. The state is not responsible for the failure of witnesses to appear; the continuance charged to the State was improper by virtue of the non-appearance of a witness. See State v Bonamy, 409 *82So.2d 518 (Fla. 5th DCA 1982); State v Roig, 305 So.2d 836 (Fla. 3d DCA 1974).
This cause is reversed with instruction to reinstate this case and set for trial.
ESQUIROZ and GREENBAUM, JJ., concur.
